Case:23-01428-MCF11 Doc#:28-7 Filed:06/22/23 Entered:06/22/23 21:45:39                                                 Desc:
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                                                                                                                Attachment 15

                                                                                                                    1295.040
Pg. 1                                       COMMONWEALTH OF PUERTO RICO
                                               COURT OF FIRST INSTANCE
                                                   BAYAMÓN PART

BANCO POPULAR DE PUERTO RICO
---------------------------------------------------------                                CASE NO.: D CD2013-2003
                      PLAINTIFF                                                                    ROOM: 0502
                          VS.
RAMÍREZ ROSADO, ALEXIS aka                                                    COLLECTION OF MONIES
--------------------------------------------------------                           MORTGAGE FORECLOSURE
                    DEFENDANT                                                      CAUSE/FELONY


ATTY. SOSA PADRÓ CARLOS ROBERTO
PO BOX 191682
SAN JUAN, PR 00919-1682


                                                    N O T I F I C AT I O N

     I CERTIFY THAT REGARDING REQUEST FOR AMENDMENT NUNC PRO TUNC, ON
FEBRUARY 20, 2014 THE COURT ISSUED THE ORDER ----------------------------------WHICH IS
TRANSCRIBED BELOW:

GRANTED.


                                                    SND. IVONNE DÍAZ PÉREZ
                                                            JUDGE

      I ALSO CERTIFY THAT TODAY I SENT A COPY BY MAIL OF THIS NOTIFICATION TO
THE FOLLOWING PEOPLE TO THEIR INDICATED ADDRESSES, HAVING FILED IN RECORDS
ON THIS SAME DATE A COPY OF THIS NOTIFICATION.

BERRIOS SALGADO, ELSIE E. aka
URB. SANTA ROSA
17-28 CALLE 13
BAYAMÓN, PR 00959

BERRIOS SALGADO, ELSIE ENID
URB. SANTA ROSA
17-28 CALLE 13
BAYAMÓN, PR 00959




Certiﬁed to be a true and exact translation from the original text in Spanish to the target language English.
24/MAY/2023 ♦ Translations & More: 787-637-4906
Case:23-01428-MCF11 Doc#:28-7 Filed:06/22/23 Entered:06/22/23 21:45:39                                                      Desc:
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PG. 02                                                                                               CASE NO.: D CD2013-2003
                                                                                                                ROOM: 0502




BERRIOS SALGADO, ELSIE E.
URB. SANTA ROSA
17-28 CALLE 13
BAYAMÓN, PR 00959

RAMÍREZ ROSADO, ALEXIS aka
URB. SANTA ROSA
17-28 CALLE 13
BAYAMÓN, PR 00959

RAMÍREZ, ALEXIS
URB. SANTA ROSA
17-28 CALLE 13
BAYAMÓN, PR 00959


BAYAMÓN, PUERTO RICO ON FEBRUARY 27, 2014.

                                                          RUTH APONTE COTTO
                                                          ------------------------------------------------------------------------
                                                                                       CLERK
                                                      BY: ROSANNA SÁNCHEZ REYES
                                                          ------------------------------------------------------------------------
                                                                                   DEPUTY CLERK


O.A.T. 75-C NOTIFICATION OF RULINGS AND ORDERS
WWW.RAMAJUDICIAL.PR/TELETRIBUNALES (787) 759-1888 / ISLAND 1-877-759-1888 TOLL FREE




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1295.040
07-101-001-208391-4


                                          COMMONWEALTH OF PUERTO RICO
                                             COURT OF FIRST INSTANCE
                                             BAYAMÓN SUPERIOR PART

    BANCO POPULAR DE PUERTO RICO                                                CIVIL NO.: DCD2013-2003
                                                                                ROOM: 502
                                 Plaintiff
                                   vs.
                                       RE:
    ALEXIS RAMIREZ ROSADO aka ALEXIS
    RAMIREZ his wife, ELSIE E. BERRIOS
    SALGADO aka ELSIE ENID BERRIOS
    SALGAD.O and as ELSIE.E. BERRIOS   MORTGAGE FORECLOSURE BY
                 Defendant             ORDINARY MEANS


                    PARTIAL JUDGMENT IN REM AMENDED NUNC PRO TUNC

           Having heard the Motion requesting the annotation of Default and Judgment In Rem

regarding the lawsuit, together with the corresponding Affidavit, as required by Rule 45.2(b) of

the Civil Procedure, and having the Trustee appointed by the Bankruptcy Court abandoned the

property subject to foreclosure in this case, which voids the protection of the Automatic Stay Order

provided by law for real estate as an asset in the bankruptcy, the foreclosure proceeding against

the property is ordered to continue, and having not paid the sums owed, nor having in the claim an

assertion that must be verified in order to be corroborated by the Affidavit, as well as by the

documents that were made part of the aforementioned Motion, the Court,

           Grants the lawsuit in the cause of action of mortgage foreclosure, and consequently issues

a Judgment "In REM" (only against the property), and orders the execution of the judgment

through the sale at public auction of the property given in guarantee of the loan in order to pay the

plaintiff, Banco Popular de Puerto Rico, the sums claimed in the complaint, which as of April 1,

2007, amounted to $79,064.01 of principal, plus accrued interest at 7.50% per annum from that

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date onwards, plus the agreed surcharges for late payment and the items for mortgage insurance,

an amount that will continue to increase due to interest and surcharges to accumulate from that

date onwards until the date of total payment thereof, plus the stipulated amount for expenses, costs

and attorney fees.

           The Bailiff of this Court is ordered, upon request, to proceed to sell in public auction to the

highest bidder the following property:

           URBAN: Lot located in the SANTA ROSA URBANIZATION, located in the Juan Sanchez
           neighborhood of Bayamón, Puerto Rico, which is described in the urbanization registration
           plan, with the area and boundaries listed below: Lot number 17 of Block A28*, with a
           surface area of 315.00 square meters. In borders: by the NORTH, with the lot number 18,
           distance of 21.00 meters; by the SOUTH, with lot number 16, distance of 21.00 meters; by
           the EAST, with lot number 10, distance of 15.00 meters; and by the WEST, with the street
           number 13, distance of 15.00 meters. It contains a concrete house for a family.

           Property 18,849, registered to Folio 246 of Volume 416 of Bayamon, Bayamón Registry,
           Section I.

           The announcement for the sale by public auction will be made in accordance with the

provisions of Rule 51.7 of the 2010 Rules of Civil Procedure.

           If the sale by public auction of the real estate property is held, the sum of $91,258.00 will

serve as minimum rate for the first auction to be held.

           REGISTER AND NOTIFY.

           Issued in Bayamon, Puerto Rico, on November 7, 2013. Amended Nunc Pro Tunc on

February 20,           2014.


                                                                                          [Signature]
                                                                                      IVONNE DÍAZ PÉREZ
                                                                                    SUPERIOR COURT JUDGE




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